Case:19-10772-SDB Doc#:17 Filed:06/28/19 Entered:06/28/19 14:33:59 Page:1 of 13

IN THE UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF GEORGIA
AUGUSTA DIVISION

In re:

BENJAMIN LAMAR IVEY and
SHARON LOWE IVEY,

Chapter 13
Case No: 19-10772-SDB

ee Ree

Debtors.

AMENDMENT TO PETITION

COME NOW the Debtors, BENJAMIN LAMAR IVEY and SHARON LOWE

IVEY, who would amend Schedules A/B and C of their petition as

attached hereto.

 
     
 

Respectfully Submittdd,

!

    

Wills Law Firm, LLC
P.O. Box 1620
Thomson, GA 30824
706-595-8100
Case:19-10772-SDB Doc#:17 Filed:06/28/19 Entered:06/28/19 14:33:59 Page:2 of 13

Fill in this information to identify your case and this filing:

 

 

 

Debtor 1 Benjamin Lamar Ivey

First Name Middle Name Last Name
Debtor 2 Sharon Lowe Ivey
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF GEORGIA

|Case number 49-10772 HM Check if this is an
| 1 amended filing

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

BF No. Go to Part 2.
O Yes. Where is the property?

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

ONo
Byes

3.1. Make: BMW _
Model: 328i
Year: 2007

 

 

 

 

Who has an interest in the property? Check one

BF debtor 1 only
OD Debtor 2 only

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

 

 

Approximate mileage: 130,000 0 Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: CD) At least one of the debtors and another
O Check if this is community property $7,500.00 $7,500.00
(see instructions)
“ MERCEDES i i 4 Do not deduct secured claims or exemptions. Put

Boi MAKE: Who hes arr interest inthe property? heck one the amount of any secured claims on Schedule D:

Model: E350 OI Debtor 1 only Creditors Who Have Claims Secured by Property.

Year: 2011 O Debtor 2 only Current value of the Current value of the

Approximate mileage: — 63,000 OO Debtor 4 and Debtor 2 only entire property? portion you own?

Other information:

 

 

BF at least one of the debtors and another

 

 

C) Check if this is community property $16,000.00 $8,000.00
(see instructions)
Official Form 106A/B Schedule A/B: Property page 1

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Best Case Bankruptcy
Case:19-10772-SDB Doc#:17 Filed:06/28/19 Entered:06/28/19 14:33:59 Page:3 of 13

Debtor1 Benjamin Lamar Ivey

Debtor2 Sharon Lowe Ivey Case number (if known) 19-10772

Do not deduct secured claims or exemptions. Put

 

: LINCOLN i i
3.3. Make: Who has an interest in the property? Check one the amount of any secured claims on Schedule D:
Mode: MARK LT BB debtor 1 only Creditors Who Have Claims Secured by Property.
Year: 2007 DO Debtor 2 only Current value of the Current value of the
Approximate mileage: 145,000 OD Debtor 1 and Debtor 2 only entire property? Portion you own?
Other information: C7 At least one of the debtors and another
$12,000.00 $12,000.00

C1 Check if this is community property
(see instructions)

 

 

 

Do not deduct secured claims or exemptions. Put

 

: LEXUS i i

3.4 Make: Who has an interest in the property? Check one the amount of any secursd:caime un Schedule D:
Model: LS430  pebtor 1 only Creditors Who Have Claims Secured by Property.
Year: 20020 — C1 Debtor 2 only Current value of the Current value of the
Approximate mileage: 226,000 C1 Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: D1 At least one of the debtors and another
INOPERABLE

0 Check if this is community property $500.00 ee $500.00
(see instructions)

 

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

 

O No
Yes
4.1 Make: TRACTOR SUPPLY Who has an interest in the property? Check one Do not deduct secured claims or exemptions. Put
a the amount of any secured claims on Schedule D:
Model: 4X8 TRAILER Debtor 1 only Creditors Who Have Claims Secured by Property.
Year: ee C1 Debtor 2 only Current value of the Current value of the
0 Debtor 4 and Debtor 2 only entire property? portion you own?
Other information: D At least one of the debtors and another
O Check if this is community property $500.00 $500.00

 

(see instructions)

 

 

 

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
._pages you have attached for Part 2. Write that number here..............::cssscsscsscceecessessseesceeseeeesnensessarssesseereneseess =>

$28,500.00

   

Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?

Do not deduct secured
claims or exemptions.
6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

C1 No
M@ Yes. Describe.....

 

MISC. HOUSEHOLD GOODS AND FURNISHINGS - SEE ATTACHED

LIST $1,285.00

 

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices

including cell phones, cameras, media players, games

 

 

 

O No
I Yes. Describe...
| MISC, ELECTRONICS - SEE ATTACHED LIST $1,350.00
Official Form 106A/B Schedule A/B: Property page 2

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Case:19-10772-SDB Doc#:17 Filed:06/28/19 Entered:06/28/19 14:33:59 Page:4 of 13

Debtor1 Benjamin Lamar Ivey

Debtor 2 Sharon Lowe Ivey Case number (ifknown) 19-10772

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;

other collections, memorabilia, collectibles
HNo
0 Yes. Describe...

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;

musical instruments
Hino
J Yes. Describe...

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

HNo
DO Yes. Describe...

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

ONo
Ml yes. Describe.....

 

CLOTHING - SEE ATTACHED LIST | $1,000.00

 

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

O] No
i Yes. Describe...

 

| MISC. JEWELRY ITEM(S) - SEE ATTACHED LIST $1,500.00

13. Non-farm animals
Examples: Dogs, cats, birds, horses
C1 No

Ml Yes. Describe...

 

| CHIHUAHUA | $0.00

14. Any other personal and household items you did not already list, including any health aids you did not list
O No
Bi Yes. Give specific information...

 

 

 

| POWER TOOL(S) - SEE ATTACHED LIST $10.00
|
15. Add the dollar value of ail of your entries from Part 3, including any entries for pages you have attached | $5,145.00

for Part 3. Write that mumber here ............cscsccssssesssessseseeserseseensnesenstseessnenseenseeeseses
| Part 4: | Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured

claims or exemptions.

 

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

ONo

Official Form 106A/B Schedule A/B: Property page 3

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Case:19-10772-SDB Doc#:17

Debtor1 Benjamin Lamar Ivey
Debtor2 Sharon Lowe Ivey

17. Deposits of money

Filed:06/28/19 Entered:06/28/19 14:33:59 Page:5 of 13

Case number (ifknown) 19-10772

CASH ON
HAND
(APPROXIMA

TE) $0.00

Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.

 

 

ONo
Myves............ Institution name:
SRP FEDERAL CREDIT UNION
17.1. CHECKING (APPROXIMATE BALANCE) - $400.00
SRP FEDERAL CREDIT UNION
17.2. SAVINGS (APPROXIMATE BALANCE) $10.00

18. Bonds, mutual funds, or publicly traded stocks

 

 

Examples: Bond funds, investment accounts with brokerage firms, money market accounts

HNo

Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and

joint venture

BNo

0) Yes. Give specific information about them...........

Name of entity:

% of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

BNo

0 Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts

Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

CO No

Yes. List each account separately.
Type of account:

Institution name:

 

 

401(k) THROUGH EMPLOYER WAL-MART
ASSOCIATES, INC. $0.00
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
Bno
DUBS acces Institution name or individual:
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
BNo
0 Yes............. Issuer name and description.
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
BNo
OD Yes............. Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
Official Form 106A/B Schedule A/B: Property page 4

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Best Case Bankruptcy
Case:19-10772-SDB Doc#:17 Filed:06/28/19 Entered:06/28/19 14:33:59 Page:6 of 13

Debtor1 Benjamin Lamar Ivey
Debtor2 Sharon Lowe Ivey Case number (if known) 19-1 0772

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
B No

Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

HI No
O Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

BNo

0 Yes. Give specific information about them...

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
BNo

O Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

BNo
OD Yes. Give specific information......

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else

BNo
O Yes. Give specific information..

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

HNo

O Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

BNno
DO Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

HNo

DO Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
BNo

0 Yes. Describe each claim.........

35. Any financial assets you did not already list
B No

0 Yes. Give specific information.

Official Form 106A/B Schedule A/B: Property page 5
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Case:19-10772-SDB Doc#:17 Filed:06/28/19 Entered:06/28/19 14:33:59 Page:7 of 13

Debtor1 Benjamin Lamar Ivey
Debtor2 Sharon Lowe Ivey Case number (ifknown) 19-10772

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that mumber Nere...........cccccsccssssssscessesssssesseseeesensuescssseessnsseceuseeusesssesseseeeeesneanessassasereeeascnses $410.00

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

 

37. Do you own or have any legal or equitable interest in any business-related property?
BH No. Go to Part 6.

Dyes. Go to line 38.

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
EI No. Go to Part 7.
0 Yes. Go to line 47.

[EXTANEEE Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

BNo

O Yes. Give specific information.........

 

 

et
54. Add the dollar value of all of your entries from Part 7. Write that number here. ...........ccssccesseseeeeeee | $0.00
List the Totals of Each Part of this Form ;

55: Part 1: Total real CState; WED sassccccisssscicccacisesennsaiviensssevvarsiennuarcvsssesiasvviseceiarcuanevannanesnwisuatniaaenananwieaeieasieiers $0.00
56. Part 2: Total vehicles, line 5 $28,500.00

57. Part 3: Total personal and household items, line 15 $5,145.00

58. Part 4: Total financial assets, line 36 $410.00

59. Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... $34,055.00 Copy personal property total $34,055.00

 

63. Total of all property on Schedule AJB. Add line 55 + line 62 $34,055.00 |

 

Official Form 106A/B Schedule A/B: Property page 6
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Case:19-10772-SDB Doc#:17 Filed:06/28/19 Entered:06/28/19 14:33:59 Page:8 of 13

ASSETS

Please check items that you own and list your estimate of the value of the following items. The value should be the price a retail merchants
would charge for the property considering the age and condition of the property at the time of filing. Please indicate if there is more than

one of each item in the space provided.
ITEM NUMBER

HOUSEHOLD GOODS AND FURNISHINGS:

Refrigerator #
Dishwasher #

Stove # ©
Microwave # ©
Washer # |
Dryer # |
Vacuum Cleaner # 9
Household Hand Tools # ©
Dining Room Suit # |
Living Room Suit + &
Den Suit # 4
Bedroom Suit #

TOTAL HOUSEHOLD ITEMS

ELECTRONICS:

Television # 4
Computer & Accessories #
VCR #_©O
DVD # ©
DVD Collection #90
Play Station or other gaming equip. #3
Video Games # ld
Stereo #9
CD Player #
CD Collection # (oo
Telephones/Cellphones # 2
Digital Camera # A

Other Camera Equipment # 6
TOTAL ELECTRONICS ITEMS

CLOTHES:
Clothing (all clothes, shoes, accessories, etc.) #MISC.

NON-HOUSEHOLD ITEMS/GOODS:

 

Sporting Goods/Fitness Equipment #9
Fishing Equipment # oO
Original Artwork # eo
Collections (Ex. Stamp, Coin, etc.) #  O
Riding Lawn Mower #0
Push Lawn Mower # Oo
Utility Trailer(s) # ol
Power Tools #_ |
Firearms #0
Hobby Crafts (ex. 4 wheeler, jet ski, etc.) # °
Wedding Rings # 2
Jewelry other than wedding rings ¢ i.

TOTAL NON-HOUSEHOLD ITEMS

VALUE

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Le mo Le : MneDebior Gen ¢ : A )
Case:19-10772-SDB Doc#:17 Filed:06/28/19 Entered:06/28/19 14:33:59 Page:9 of 13

 

Fill in this information to identify your case:

 

 

Debtor 1 Benjamin Lamar Ivey

First Name Middle Name Last Name
Debtor 2 Sharon Lowe Ivey
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF GEORGIA

 

Casenumber 19-10772
(if known) Check if this is an
amended filing

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 49

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

[GEREHEE Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

 

B You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
O You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
7 BMW 328i 130,000 mil 0.C.G.A. § 44-13-100(a)(3
200 328i 130,00 es $7,500.00 | - _$ ,538.00, § (a)(3)

 

Line from Schedule A/B: 3.1 :
O 100% of fair market value, up to
any applicable statutory limit

 

2011 MERCEDES E350 63,000 miles $8,000.00 a $10.00 0.C.G.A. § 44-13-100(a)(3)
Line from Schedule A/B: 3.2 ———————— ro
O 100% of fair market value, up to
any applicable statutory limit

 

2007 LINCOLN MARK LT 145,000 $12,000.00 Ee $5,000.00 0.C.G.A. § 44-13-100(a)(3)
miles pe RE ce a
Line from Schedule A/B: 3.3 O 400% of fair market value, up to

any applicable statutory limit

 

2002 LEXUS LS430 226,000 miles 500.00 0-C.G.A. § 44-13-100(a)(3)
INOPERABLE _____ 5.08 = ———_—-—— S50.
Line from Schedule A/B: 3.4 O 400% of fair market value, up to

any applicable statutory limit

TRACTOR SUPPLY 4 X 8 TRAILER $500.00 $500.00 0-C.G.A. § 44-13-100(a)(6)
Line from Schedule A/B: 4.1 SEE SSS

 

 

Oo 100% of fair market value, up to
any applicable statutory limit

 

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 3
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Case:19-10772-SDB Doc#:17 Filed:06/28/19 Entered:06/28/19 14:33:59 Page:10 of 13

Benjamin Lamar Ivey
Sharon Lowe Ivey

Debtor 1
Debtor 2

Brief description of the property and line on
Schedule A/B that lists this property

Current value of the
portion you own

Copy the value from

Case number (if known)

Amount of the exemption you claim

Check only one box for each exemption.

19-10772

Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Schedule A/B
MISC. HOUSEHOLD GOODS AND 1.285.0 1,285.00 O.-C.G.A. § 44-13-100(a)(4)
FURNISHINGS - SEE ATTACHED a RESON a ____ 28600
LIST O 100% of fair market value, up to
Line from Schedule A/B: 6.1 any applicable statutory limit
MISC. ELECTRONICS - SEE $1,350.00 a $1,350.00 0.C.G.A. § 44-13-100(a)(4)
ATTACHED LIST $$ Oe
Line from Schedule A/B: 7.1 O 400% of fair market value, up to
any applicable statutory limit
CLOTHING - SEE ATTACHED LIST $1,000.00 ral $1,000.00 0.C.G.A. § 44-13-100(a)(4)
Line from Schedule A/B: 11.1 ea
0 100% of fair market value, up to
any applicable statutory limit
MIS} JEWELRY ITEM(S)" SEE $1,500.00 $1,000.00 0.C.G.A. § 44-13-100(a)(5)
ATTACHED LIST ———___ eee
Line from Schedule A/B: 12.1 O 100% of fair market value, up to
any applicable statutory limit
MISC. JEWELRY ITEM(S) - SEE $1,500.00 $500.00 O.C.G.A. § 44-13-100(a)(6)
ATTACHED LIST — -——-——__—-
Line from Schedule A/B: 12.1 O 100% of fair market value, up to
any applicable statutory limit
CHIHUAHUA $0.00 a $10.00 0.C.G.A. § 44-13-100(a)(4)
Line from Schedule A/B: 13.1 —— ———————————_—S—
O 100% of fair market value, up to
any applicable statutory limit
POWER TOOL(S) - SEE ATTACHED $10.00 E $10.00 0.C.G.A. § 44-13-100(a)(6)
LIST SS
Line from Schedule A/B: 14.1 O 400% of fair market value, up to
any applicable statutory limit
CASH ON HAND (APPROXIMATE) $0.00 a $1.00 O.C.G.A. § 44-13-100(a)(6)
Line from Schedule A/B: 16.1 — re
| 100% of fair market value, up to
any applicable statutory limit
CHECKING: SRP FEDERAL CREDIT $400.00 a $400.00 0.C.G.A. § 44-13-100(a)(6)
UNION (APPROXIMATE BALANCE) 8
Line from Schedule A/B: 17.1 O 400% of fair market value, up to
any applicable statutory limit
SAVINGS: SRP FEDERAL CREDIT $10.00 FE $10.00 0.C.G.A. § 44-13-100(a)}(6)
UNION (APPROXIMATE BALANCE) —_—<—<———
Line from Schedule A/B: 17.2 O 100% of fair market value, up to
any applicable statutory limit
401(k): THROUGH EMPLOYER $0.00 ral $10.00 0.C.G.A. § 44-13-100(a)(2.1)
WAL-MART ASSOCIATES, INC. a a
Line from Schedule A/B: 21.1 OQ 100% of fair market value, up to
any applicable statutory limit
Official Form 106C Schedule C: The Property You Claim as Exempt page 2 of 3

Best Case Bankruptcy
Case:19-10772-SDB Doc#:17 Filed:06/28/19 Entered:06/28/19 14:33:59 Page:11 of 13

Debtor? Benjamin Lamar Ivey
Debtor2 Sharon Lowe lvey Case number (if known)  19-10772

 

 

3. Are you claiming a homestead exemption of more than $170,3507
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

BH No
0 Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
O No
O Yes
Official Form 106C Schedule C: The Property You Claim as Exempt page 3 of 3

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Case:19-10772-SDB Doc#:17 Filed:06/28/19 Entered:06/28/19 14:33:59 Page:12 of 13

Fill in this information to identify your case:

 

 

 

Debtor 1 Benjamin Lamar Ivey

First Name Middle Name Last Name
Debtor 2 Sharon Lowe Ivey
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: © SOUTHERN DISTRICT OF GEORGIA

Case number 1419-10772
(if known) HE Check if this is an
amended filing

 

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

ee mae Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

m No

Ol Yes. Name of person Attach Bankrupicy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119)

 

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

Benjamin Lamar lvey— { C}

 

Sharon Lowe Ivey

Signature of Debtor 1 Signature of Debtor 2

Date U\as\\a pate tw a gli

Official Form 106Dec Declaration About an Individual Debtor's Schedules

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Case:19-10772-SDB Doc#:17 Filed:06/28/19 Entered:06/28/19 14:33:59 Page:13 of 13

CERTIFICATE OF SERVICE

 

This is to certify that I, John P. Wills, have this day served
a true and correct copy of the within and foregoing “AMENDED
SCHEDULES A/B AND C” upon the following:

Huon Le
Chapter 13 Trustee

[VIA CM/ECF]
val

gonn We" wilh *
Attorney for Debtors

This the ase day of June, 2019.

 

Wills Law Firm, LLC

P.O, Box L620 |
Thomson, GA 30824

(706) 595-8100
